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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

           v.
                                                          Criminal Action No. 18-cr-32-2 (DLF)
    CONCORD MANAGEMENT &
    CONSULTING LLC,

                   Defendant.


                              MEMORANDUM OPINION & ORDER

          Before the Court is defendant Concord Management & Consulting LLC’s Motion for a

Bill of Particulars, Dkt. 104. For the reasons that follow, the Court will grant the motion in part

and deny it in part.

I.        BACKGROUND

          The indictment charges Concord and others with conspiring to defraud the United States

by impairing the lawful functions of three government agencies: the Federal Election

Commission (FEC), the Department of Justice (DOJ), and the Department of State (DOS).

Indictment ¶ 9.1 According to the indictment, the conspirators’ ultimate goal was to sow discord

among U.S. voters through divisive social media posts and political rallies. Id. ¶ 6.

          That goal, by itself, was not illegal. But the indictment alleges that the means used to

achieve it were. The conspirators apparently believed that their divisive messages would fall on

deaf ears unless they were perceived to come from U.S. nationals. So the conspirators resolved

to obscure their Russian identities and affiliations from the public. See, e.g., id. ¶¶ 4, 6–7. The

problem is that various federal laws require foreign nationals to disclose certain information


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    The facts in this section are drawn solely from the allegations in the indictment.
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about themselves and their activities to U.S. agencies. Id. ¶ 1. As relevant here, the Federal

Election Campaign Act (FECA) requires disclosure of certain political expenditures; the Foreign

Agent Registration Act (FARA) requires persons who engage in certain activities on behalf of

foreign entities to register as foreign agents; and DOS requires foreign nationals wishing to enter

the United States to provide truthful answers to questions on visa applications. See id. ¶¶ 25–27.

If Concord and its conspirators had complied with these requirements, they would have had to

disclose their Russian identities and affiliations to U.S. regulators, jeopardizing their ability to

masquerade as U.S. nationals online.

       Faced with this obstacle, the defendants and their co-conspirators agreed to impair the

lawful functions of the FEC, DOJ, and DOS in “administering federal requirements for

disclosure of foreign involvement in certain domestic activities.” Id. ¶ 9; see also id. ¶¶ 25–27

(describing the disclosure requirements administered by each agency). The defendants and their

co-conspirators impaired these functions directly by failing to report expenditures under FECA,

failing to register as foreign agents under FARA, and providing false statements on visa

applications. Id. ¶ 7. And they did so indirectly by using virtual private networks (VPNs) to

conceal the Russian origins of their online activity, id. ¶ 39, and by destroying evidence to avoid

detection by U.S. investigators, id. ¶ 58. Meanwhile, the conspirators conducted their

“information warfare” efforts online, using fictitious U.S. personas and stolen U.S. identities to

inflame public opinion on various political issues and candidates. Id. ¶ 10.

       The indictment identifies fifteen of Concord’s co-conspirators—two entities, Internet

Research Agency (IRA) and Concord Catering, and thirteen individuals, id. ¶¶ 10–24—and

provides a detailed description of the manner and means used to carry out the conspiracy, id.

¶¶ 29–58. It also lists at least 26 overt acts taken in furtherance of the conspiracy. See id. ¶¶ 59–



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85. Despite these details, Concord seeks further clarification of the 85-paragraph indictment

through a bill of particulars.

II.     LEGAL STANDARD

        Under the Federal Rules of Criminal Procedure, an indictment need only include “a plain,

concise, and definite written statement of the essential facts constituting the offense charged,”

Fed. R. Crim. P. 7(c), but a “court may direct the government to file a bill of particulars”

clarifying the allegations in the indictment, id. 7(f). “A bill of particulars can be used to ensure

that the charges brought against a defendant are stated with enough precision to allow the

defendant to understand the charges, to prepare a defense, and perhaps also to be protected

against retrial on the same charges.” United States v. Butler, 822 F.2d 1191, 1193 (D.C. Cir.

1987). “[I]f the indictment is sufficiently specific,” however, “or if the requested information is

available in some other form, then a bill of particulars is not required.” Id.

        “A bill of particulars properly includes clarification of the indictment, not the

government’s proof of its case.” United States v. Lorenzana-Cordon, 130 F. Supp. 3d 172, 174

(D.D.C. 2015) (internal quotation marks omitted). “[A] bill of particulars is not a discovery tool

or a device for allowing the defense to preview the government’s evidence.” United States v.

Brodie, 326 F. Supp. 2d 83, 91 (D.D.C. 2004). In rare circumstances, a bill of particulars might

be appropriate even if what it seeks is “an identification, within reasonable limits, of information

[already] in the possession of the accused” or “information” that is “evidentiary in nature.”

United States v. U.S. Gypsum Co., 37 F. Supp. 398, 402–03 (D.D.C 1941). But a bill of

particulars is inappropriate if “by reasonable investigation in the light of information contained

in the indictment, or otherwise furnished by the prosecution,” the defendant could avoid

“prejudicial[] surprise[].” Id. at 404.



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       In deciding whether to order a bill of particulars, “the court must balance the defendant’s

need to know evidentiary-type facts in order to adequately prepare a defense with the

government’s need to avoid prematurely disclosing evidentiary matters to the extent that it will

be unduly confined in presenting its evidence at trial.” United States v. Sanford Ltd., 841 F.

Supp. 2d 309, 316 (D.D.C. 2012) (internal quotation marks omitted). Ultimately, “the

determination of whether a bill of particulars is necessary rests within the sound discretion of the

trial court.” Butler, 822 F.2d at 1194.

III.   ANALYSIS

       Concord has submitted a total of fifty-one separate requests for clarification. Distilling

those requests into categories, Concord seeks a bill of particulars that:

            •   Identifies all unindicted co-conspirators known to the Government;

            •   Identifies the particular conspirator or conspirators who completed each
                conspiratorial act alleged in the indictment;

            •   Identifies certain statutory or regulatory provisions and violations alleged or
                alluded to in the indictment;

            •   Identifies certain bank accounts, social media accounts, email accounts, and
                VPNs referenced in the indictment;

            •   Provides information about corporate entities referenced in the indictment;

            •   Provides definitions for various terms used in the indictment;

            •   Clarifies the specific acts attributed to Concord in the indictment; and

            •   Identifies persons other than co-conspirators (including victims) referenced in the
                indictment.

See Concord’s Mot. Ex. A., Dkt. 104-1. The Court will address each category in turn.




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       A.      Identifying Unindicted Co-Conspirators

       First, Concord seeks a list of all unindicted co-conspirators known to the government.

The D.C. Circuit has not resolved whether and when a defendant is entitled to learn the identities

of unindicted co-conspirators through a bill of particulars, and other Circuits and lower courts are

divided on the subject. Compare, e.g., United States v. Crayton, 357 F.3d 560, 568 (6th Cir.

2004) (“[T]he Government is not required to furnish the name of all other co-conspirators in

a bill of particulars.”); United States v. Needham, No. 04 CR.196 DAB, 2004 WL 1903061, at *3

(S.D.N.Y. Aug. 26, 2004) (observing that courts in the Second Circuit “have been highly

reluctant to require a bill of particulars when a defendant has asked for specific identities of co-

conspirators”), with United States v. Barrentine, 591 F.2d 1069, 1077 (5th Cir. 1979) (observing

that “[a] bill of particulars is a proper procedure for discovering the names of unindicted

conspirators,” and “[i]t is not uncommon for the trial judge to require the government to disclose

their names”); United States v. Palfrey, 499 F. Supp. 2d 34, 51–52 (D.D.C. 2007) (observing

that, in this District, the “disclosure of the names of alleged co-conspirators is not uncommon in

conspiracy cases, and particularly in cases alleging nonviolent offenses”); see also United States

v. Daosavanh, No. 12-50008-011, 2012 WL 12902761, at *1 (W.D. Ark. Apr. 4, 2012) (noting a

“split of authority regarding whether a motion for a bill of particulars is the proper procedure for

discovering the names of unindicted co-conspirators”). In this Court’s view, a bill of particulars

is rarely the proper vehicle for obtaining the identities of unindicted co-conspirators. Typically,

requesting this information amounts to a plea for discovery outside the carefully crafted

discovery rules delineated by Congress and the Supreme Court, with the added tactical benefit of

committing the government to specific factual positions before it has developed its case-in-chief

or, in some cases, completed its investigation.



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        This case, however, is not the typical case. It involves three foreign corporate

defendants, one of which employed “hundreds of individuals” in support of the conspiratorial

objective. Indictment ¶ 10. The conspiracy targeted three separate U.S. agencies. Id. ¶ 9. And

it was carried out largely on foreign soil by at least thirteen individuals who are beyond the

jurisdiction of this Court. Although the government has provided the defense with extensive

discovery, the volume of that discovery exceeds four million documents, and at the

government’s request, the Court has restricted access to the vast majority of those documents to

protect national security concerns, pending investigations, and personally identifiable

information. Finally, the theory of criminal liability in this case, while sound, is to some extent

unprecedented—which is no surprise, given the unprecedented nature and scale of the operations

alleged in the indictment. All of these factors, together, weigh in favor of ordering the disclosure

of co-conspirator identities to reduce any potential for unfair surprise at trial.

        The government counters that the indictment provides the defendants with sufficient

details about the conspiracy charge to enable Concord to understand the charges and prepare its

defense. The government further argues that Concord can discern the co-conspirators’ identities

through its own diligent investigation in combination with discovery materials the government

has already produced. See Sanford, 841 F. Supp. 2d at 318 (denying disclosure of co-conspirator

identities where the conspiracy took place entirely on a ship at sea and the defendant could focus

its investigation on the “finite number of people on board”); United States v. Mosquera-Murillo,

153 F. Supp. 3d 130, 159–51 (D.D.C. 2015) (denying disclosure of co-conspirator identities

where the government had already identified many, if not all, of the co-conspirators through

wiretap recordings and text messages produced in discovery).




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        The indictment does contain a thorough description of the conspiracy, including its

manner and means and at least twenty-six overt acts. Even so, Concord’s ability to identify the

co-conspirators is hampered by the unique circumstances of this case—most significantly, by the

strict limitations the government has sought on the large volume of discovery. This factor

coupled with the others already noted—the potentially large number of co-conspirators involved,

the presence of multiple corporate defendants, and the nature and scope of the international

conspiracy—make this the rare case in which the Court deems it appropriate to order the

government to disclose the identities of Concord’s co-conspirators before trial. But, following

the practice of other courts, the Court will limit the bill of particulars to persons or entities that

the government plans to identify as co-conspirators at trial. See United States v. Ramirez, 54 F.

Supp. 2d 25, 30 (D.D.C. 1999) (requiring disclosure of “the names of all persons the government

would claim at trial were co-conspirators”). In other words, the government need not release co-

conspirator identities except to the extent the government plans to identify the individuals as co-

conspirators at trial.

        B.      Identifying the Co-Conspirators Responsible for Each Act in the Indictment

        In addition to seeking a master list of co-conspirators, Concord asks the government to go

further and specify which conspirators committed each act alleged in the indictment. This

request goes too far. See United States v. Martinez, 764 F. Supp. 2d 166, 174 (D.D.C. 2011) (an

indictment “need not spell out which co-conspirator committed which conspiratorial act”);

Palfrey, 499 F. Supp. 2d at 51 (“Although Defendant is entitled to the names of the alleged co-

conspirators, . . . the Government is not required to disclose its evidence as to the details of the

activities of those co-conspirators[.]”); United States v. Bazezew, 783 F. Supp. 2d at 168 (D.D.C.

2011) (granting request for “the identities of all persons the government claims to have been co-

conspirators during the course of the alleged conspiracy” but denying request for “the identity of
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all persons known by the government to have participated in each alleged overt act”). But see

United States v. Hsia, 24 F. Supp. 2d 14, 31 (D.D.C. 1998) (ordering “a bill of particulars

identifying, for each relevant paragraph of the indictment, which co-conspirator performed the

specified acts”).

       “Unlike discovery, a bill of particulars is intended to give the defendant only that

minimum amount of information necessary to permit the defendant to conduct

his own investigation and not to provide the defendant with the fruit of the government’s

investigation.” Sanford, 841 F. Supp. 2d at 316 (alteration adopted and internal quotation marks

omitted). “The Court must strike a prudent balance between the legitimate interests of the

government and those of the defendants.” Id. (internal quotation marks omitted). The detailed

allegations in the indictment, combined with the list of co-conspirators the government plans to

introduce at trial and the additional relief the Court orders herein, infra III.D & E, provide

Concord with more than enough information to conduct its own investigation of the charges

against it. That remains true notwithstanding the discovery challenges discussed above.

Concord is not entitled to preview the government’s evidence, and at this stage, the government

need not disclose the precise details supporting the allegations in the indictment. See Sanford,

841 F. Supp. 2d at 317 (“[T]he general rule in conspiracy cases is that the defendant is not

entitled to obtain detailed information about the conspiracy in a bill of particulars.” (internal

quotation marks omitted)); see also United States v. Baker, No. 08-cr-0075, 2010 WL 936537, at

*1–6 (M.D. Pa. Mar. 15, 2010) (denying requests to identify individuals associated with

particular paragraphs in the indictment because granting the requests would be tantamount to

requiring the government to disclose its witness list and theory of the case). Accordingly, the




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Court will deny Concord’s request to the extent it seeks the identity of each co-conspirator

associated with each paragraph of the indictment.

       C.      Identification of Accounts and VPNs Allegedly Controlled by Concord or its
               Co-Conspirators

       The Court will also deny Concord’s request to identify specific bank accounts, social

media accounts, email accounts, and VPNs referenced in the indictment. The substance of the

allegations relating to these accounts is clear from the indictment, and the precise manner in

which the government plans to prove them at trial is beyond the scope of a bill of particulars.

The specific accounts used and controlled “are not material to the charge” against Concord,

Sanford, 841 F. Supp. 2d at 317, and serve only as evidence of the underlying expenditures or

deception alleged in the indictment.

       Moreover, the government appears to have fully complied with its obligations under

Brady and Rule 16. In doing so, it has produced over four million documents that almost

certainly contain the account information Concord seeks. The Court recognizes that sorting

through this large volume of materials is no easy task, particularly given the restrictions on

access and dissemination in place under the current protective order.2 But the government has

mitigated this potential problem by voluntarily disclosing roughly 500 key documents it deems

most relevant to the allegations in the indictment. Hr’g Tr. Mar. 7, 2019 at 7–9, Dkt. 108.

Concord complains that this key document set “support[s]” only “the specific allegations in the

Indictment” and thus merely tells Concord what it already knows. Concord’s Reply at 8, Dkt.



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  As the Court has repeatedly stressed, the current protective order was always intended as a
temporary measure to facilitate early review by Concord’s counsel while the parties resolved
extensive pretrial motions. Now that this case is progressing to trial, the parties are briefing—
and the Court will soon reassess—the terms of that protective order and any changes that may be
necessary to enable Concord to prepare adequately for trial.

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122. But, if so, that is a virtue, not a vice. If the government is not planning to rely on evidence

beyond the scope of the specific allegations in the indictment, then it is difficult to see how

Concord could be unfairly surprised by such evidence at trial. Put differently, the fact that the

government’s key documents set relates exclusively to the specific allegations in the indictment

is a strong indication that the indictment itself has provided sufficient detail to put Concord on

notice of the charges against it.

         At any rate, even if the information Concord seeks is not currently contained in the key

documents set, the government has agreed to disclose its entire exhibit list several months before

trial, Hr’g Tr. Mar. 7, 2019 at 33, and the Court intends to order it to do so. If the specific

accounts and VPNs Concord seeks will be introduced at trial, it is highly likely that they will be

identified in either the key documents set or the Government’s exhibit list well in advance of

trial.

         In short, the combination of the detailed allegations in the indictment, the extensive

discovery already produced, the government’s key documents set, and the government’s

forthcoming exhibit list make it implausible that Concord will be blindsided by specific account

information for the first time at trial. Because this information is evidentiary in nature and is

already—or soon will be—available in multiple forms, the government need not disclose it in a

bill of particulars.

         D.     Identification of FECA and FARA Violations

         Next, Concord seeks information related to the FECA and FARA provisions referenced

in the indictment. See Indictment ¶¶ 9, 25–26. In particular, it asks the Government to (1)

identify any conspirators who were required to report expenditures to the FEC or register as a

foreign agent with DOJ, (2) identify the statutes and regulations described in paragraphs 25 to 27



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of the indictment, and (3) clarify whether Concord or its agents are alleged to have violated

FECA or FARA. Concord’s Mot. Ex. A ¶¶ 12, 23–26.

       The Court will grant these requests in part, though not quite as Concord frames them. In

connection with Concord’s second motion to dismiss the indictment, the parties and the Court

invested significant time analyzing the government’s theory of criminal liability and,

specifically, the role that FECA and FARA violations play in the analysis. Ultimately, the Court

held that while the government was not necessarily required to allege FECA and FARA

violations to establish a defraud-clause conspiracy, the indictment did allege such violations as

one of several forms of deceptive conduct aimed at the United States. United States v. Concord

Mgmt. & Consulting LLC, 347 F. Supp. 3d 38, 48–51 (D.D.C. 2018).3 In addition, the Court

emphasized that the Government may ultimately have to prove these violations at trial to show

that the deceptive acts directed at private parties were also intended to impair the FEC’s and

DOJ’s functions “in administering federal requirements for disclosure.” Id. at 51. The Court

reasoned that, while defraud-clause conspiracies do not formally depend on violations of other

statutes, it would be difficult to tie the deceptive acts alleged in this case to FEC’s and DOJ’s

administration of FECA’s and FARA’s disclosure requirements if those requirements did not

actually apply to the conspirators.




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  When the Court uses the word “violations,” it does not mean willful violations that would
support criminal penalties in the absence of an underlying defraud-clause conspiracy. Instead, it
refers generally to the failure to comply with FECA’s and FARA’s mandatory disclosure
requirements. Concord suggested at the motion to dismiss stage that the two concepts cannot or
should not be separated in this case, but the Court disagreed. See Concord, 347 F. Supp. 3d at 50
(explaining that the “substantive FECA and FARA provisions that require disclosure are separate
from FECA and FARA’s enforcement provisions,” which limit criminal penalties to willful
violations, and observing that FECA’s enforcement provisions impose civil penalties for non-
willful violations).
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        In other words, it will be difficult for the government to establish that the defendants

intended to use deceptive tactics to conceal their Russian identities and affiliations from the

United States if the defendants had no duty to disclose that information to the United States in

the first place. For that reason, the specific laws—and underlying conduct—that triggered such a

duty are critical for Concord to know well in advance of trial so it can prepare its defense.

        The indictment alleges that the defendants agreed to a course of conduct that would violate

FECA’s and FARA’s disclosure requirements, see Indictment ¶¶ 7, 25–26, 48, 51, and provides

specific examples of the kinds of expenditures and activities that required disclosure, see id. ¶¶ 48–

57. Concord, 347 F. Supp. 3d at 50. But the indictment does not cite the specific statutory and

regulatory disclosure requirements that the defendants violated. Nor does it clearly identify

which expenditures and activities violated which disclosure requirements. Accordingly, the

Court will order the government to:

            •   Identify any statutory or regulatory disclosure requirements whose administration
                the defendants allegedly conspired to impair, along with supporting citations to
                the U.S. Code, Code of Federal Regulations, or comparable authority.

            •   With respect to FECA, identify each category of expenditures that the
                government intends to establish required disclosure to the FEC. See, e.g.,
                Indictment ¶ 48 (alleging that the defendants or their co-conspirators
                “produce[d], purchase[d], and post[ed] advertisements on U.S. social media and
                other online sites expressly advocating for the election of then-candidate Trump
                or expressly opposing Clinton”) (emphasis added)). The government must also
                identify for each category of expenditures which disclosure provisions the
                defendants or their co-conspirators allegedly violated.

            •   With respect to FARA, identify each category of activities that the government
                intends to establish triggered a duty to register as a foreign agent under FARA.
                See, e.g., id. ¶ 48 (same); id. ¶ 51 (alleging that the defendants or their co-
                conspirators “organized and coordinated political rallies in the United States”
                (emphasis added)). The government must also identify for each category of
                activities which disclosure provisions the defendants or their co-conspirators
                allegedly violated.




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       To the extent Concord requests additional information about possible FECA and FARA

violations—for instance, which entities or individuals allegedly violated FECA and FARA—its

request is denied for the reasons stated in II.B.4

       E.       Concord’s Remaining Requests for Clarification

       Lastly, Concord asks the government to provide information about corporate entities

referenced in the indictment, to define certain terms used in the indictment, to clarify certain

activities allegedly undertaken by Concord, and to identify certain individuals other than co-

conspirators referenced in the indictment. The Court will deny most of these requests.

       First, Concord requests detailed information about certain corporate entities referenced in

the indictment, including their place and date of incorporation and a list of their incorporators.

See Concord’s Mot. Ex. A. ¶¶ 1, 19. This information is evidentiary in nature and immaterial to

the charges in the indictment. Further, Concord can obtain this information on its own from

public records or through its own reasonable investigation. The Court will therefore deny this

request.

       Second, Concord asks the government to define various terms used in the indictment.

The Court will deny this request because the terms Concord seeks to define are either plain on

their face or become clear through context. For example, “disparaging Hillary Clinton” has an

obvious meaning. Id. ¶ 10. And other terms that might be ambiguous if read in isolation—such

as “significant funds,” id. ¶ 5, “computer infrastructure,” id. ¶ 8, or “certain domestic activities,”

id. ¶ 13—are merely used to summarize more detailed allegations contained elsewhere in the

indictment, compare Indictment ¶¶ 5, 8, 13, with id. ¶ 11 (explaining that Concord funded a


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  The Court also denies Concord’s request for additional information about statutes and
regulations related to the issuance of visas, as the visa-fraud allegations in the indictment are
sufficiently clear to put Concord on notice of the charges as they relate to DOS.

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“monthly budget” in excess of $1,250,000); id. ¶¶ 39–40 (describing the conspirators’ use of

“virtual private networks” and “email accounts hosted by U.S. email providers” to obscure the

Russian origins of their online activity); id. ¶¶ 25–27 (elaborating on the domestic activities that

require disclosure to the FEC, DOJ, and DOS on reports, registration statements, and visa

applications).

       Third, Concord asks for clarification of its own role in the conspiracy. According to the

indictment, Concord (1) provided funding, (2) recommended personnel, and (3) oversaw Internet

Research Agency activities. Id. ¶ 11. To clarify these allegations, Concord asks the government

to identify all “funds provided,” “personnel recommended,” and “activities overseen,” and to

identify each person alleged to have engaged in these activities on behalf of Concord. Concord’s

Mot. Ex. A. ¶ 15. The Court will deny the first two of these requests. The allegations related to

funding are clear: Concord paid the Internet Research Agency’s monthly budget, which

exceeded 1,250,000 U.S. dollars, Indictment ¶ 11, and included “thousands of U.S. dollars” spent

on social media advertisements, id. ¶ 35. As for recommending personnel, the substance of the

allegation is clear, and Concord is not entitled to a preview of the evidence the Government will

use to prove it. Likewise, paragraphs 12 and 13 describe activities Yevgeniy Viktorovich

Prigozhin oversaw. Id. ¶¶ 12–13. However, it is unclear from the indictment whether Prigozhin

engaged in these activities on Concord’s behalf. To address this potential source of confusion,

the Court will order the Government to clarify whether Prigozhin engaged in the activities

described in paragraphs 12 and 13 of the indictment on Concord’s behalf. And if Prigozhin did

not act on Concord’s behalf, the Court will direct the government to clarify which “activities”

Concord is alleged to have overseen and the manner in which it oversaw them.




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       Finally, Concord requests the identification of individuals other than co-conspirators

(including victims) referenced in the indictment. This information is not necessary to clarify the

charges against Concord or to enable Concord to prepare for trial. Instead, it amounts to a

request for a detailed preview of the government’s evidence. Ordering the government to

provide this information now would, in effect, force the government to hand over its witness list

many months before trial. See Baker, 2010 WL 936537, at *1–6 (denying similar requests for

the same reason). Moreover, some of the unidentified victims, such as “Campaign Official 1”

and “Campaign Official 2” can be easily identified in the discovery materials or through

Concord’s own investigation because the indictment specifies the email address the defendants

and their co-conspirators allegedly used to contact these officials. See Indictment ¶¶ 76, 78.

Concord’s final request will therefore be denied.

       Although the Court has analyzed Concord’s requests by category, it has reviewed each of

Concord’s 51 requests and finds that every request not specifically granted in this decision is

either beyond the scope of a bill of particulars, sufficiently addressed by the allegations in the

indictment, or available to Concord in another form. Accordingly, any remaining requests not

already addressed in this opinion will be denied.

       The Court recognizes that ordering a bill of particulars risks committing the government

to positions that might change as it discovers new information. See Jackson v. United States,

359 F.2d 260, 263 n.1 (D.C. Cir. 1966) (explaining that a variance between a bill of particulars

and evidence at trial may result in a reversal of the defendant’s conviction on appeal). To

address that concern, the Court will allow the government to supplement its bill of particulars if

it obtains new information after responding to the order below. See United States v. Trie, 21 F.

Supp. 2d 7, 23 (D.D.C. 1998).



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                                          CONCLUSION

       For the foregoing reasons, it is

       ORDERED that Concord’s Motion for a Bill of Particulars, Dkt. 104, is GRANTED IN

PART AND DENIED IN PART;

       ORDERED that the government shall provide a Bill of Particulars on or before July 7,

2019. The Bill of Particulars must:

           1. Identify all unindicted co-conspirators that the government intends to establish as
              co-conspirators at trial;

           2. Identify all statutory or regulatory disclosure requirements whose administration
              the defendants allegedly conspired to impair, along with supporting citations to
              the U.S. Code, Code of Federal Regulations, or comparable authority;

           3. Identify each category of expenditures that the government intends to establish
              required disclosure to the FEC, along with supporting citations to the U.S. Code,
              Code of Federal Regulations, or comparable authority;

           4. Identify each category of activities that the government intends to establish
              triggered a duty to register as a foreign agent under FARA, along with supporting
              citations to the U.S. Code, Code of Federal Regulations, or comparable authority;
           5. Clarify whether the actions Prigozhin allegedly performed in paragraphs 12 and
              13 of the indictment are alleged to have been performed on Concord’s behalf. If
              they are not, identify the “activities” overseen by Concord and describe the
              manner in which Concord oversaw them.

       ORDERED that the remainder of Concord’s request for a bill of particulars is DENIED.




                                                            ________________________
                                                            DABNEY L. FRIEDRICH
                                                            United States District Judge
May 24, 2019




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